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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                  CASE NO: 4:18MJ3127
      vs.

MAURICE J. PAOLA,                                  DETENTION ORDER
               Defendant.



      On the government's motion, the court held a detention hearing under the
Bail Reform Act, 18 U.S.C. § 3142(f). The court concludes the defendant must
be detained.

      Based on the evidence presented and information of record, the court finds
by a preponderance of the evidence that the defendant's release would pose a
risk of nonappearance at court proceedings, and by clear and convincing
evidence that the defendant's release would pose a risk of harm to the public.

      Specifically, the court finds that the defendant has a history of harming or
threatening harm to others, and with respect to the current charges, threatened
to kill airplane passengers—including children—during a flight, necessitating an
emergency landing; following that landing, he allegedly resisted arrest; he is
addicted to or abuses mood-altering chemicals and is likely to continue such
conduct and violate the law if released; frequently changes his residential
address, with locations over the last eighteen months including Las Vegas, Los
Angeles, friends’ homes, and being homeless; is self-employed with limited third-
party employment contacts; has significant mental health issues and aggressive
tendencies which will pose a risk of harm if the defendant is released; conducted
himself during the hearing in a manner indicating he is not taking the current
charges, or the court’s authority over this case, seriously; and conditions which
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restrict Defendant’s travel, personal contacts, and possession of drugs, alcohol,
and/or firearms; require reporting, education, employment, or treatment; or
monitor Defendant’s movements or conduct; or any combination of these
conditions or others currently proposed or available (see 18 U.S.C. § 3142(c)),
will not sufficiently ameliorate the risks posed if the defendant is released.

                          Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated September 11, 2018.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
